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B 2100A (Form 2100A) (12/15)


                          UNITED STATES BANKRUPTCY COURT
                                                 Western District Of Tennessee

In re Mary L Hodge ,                                                                               Case No. 20-20487


                 TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.



United Security Financial Corp.                                           United Security Financial Corp.
________________________________________                                  ________________________________________
           Name of Transferee                                                          Name of Transferor

Name and Address where notices to transferee                              Court Claim # (if known): 12-1
should be sent:                                                           Amount of Claim: $118,093.65
BSI Financial Services                                                    Date Claim Filed: 3/11/2020
1425 Greenway Drive, #400
Irving, TX 75038

Phone: 800-327-7861                                                       Phone: 877-426-8805
Last Four Digits of Acct. #: 9831                                         Last Four Digits of Acct. #: 9831

Name and Address where transferee payments
should be sent (if different from above):
BSI Financial Services
314 S. Franklin Street
P.O. Box 517
Titusville, PA 16354
Phone: 800-327-7861
Last Four Digits of Acct. #: 9831



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:    /s/ Mark A. Baker                                                     Date:          April 9, 2021
      Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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                                CERTIFICATE OF SERVICE
The undersigned hereby certifies under penalty of perjury that he/she is over eighteen (18) years
of age and that the TRANSFER OF CLAIM OTHER THAN FOR SECURITY in the above
captioned case was this day served upon the below named persons by mailing, postage prepaid,
first class mail or by electronic service copy of such instrument to each person, party, and/or
counsel at the addresses shown below:

Via U.S. Mail

Mary L Hodge
6861 Stevenwoods Ave
Memphis, TN 38141




Via CM/ECF electronic service:
Janet M lane
2299 Union Ave
Memphis, TN 38104

George W. Stevenson
5350 Popluar Avenue
Suite 500
Memphis, TN 38119-3697



Dated: April 9, 2021


                                            Respectfully submitted,
                                            /s/ Mark A. Baker
                                            Mark A. Baker, TN Bar No. 26055
                                            McMichael Taylor Gray, LLC
                                            3550 Engineering Drive, Suite 260
                                            Peachtree Corners, GA 30092
                                            Telephone: (404) 474-7149
                                            Facsimile: (404) 745-8121
                                            E-mail: mbaker@mtglaw.com
